                 IN THE COMMONWEALTH COURT OF PENNSYLVANIA

Anthony Pitts,                                  :
                              Appellant         :
                                                :
                       v.                       :
                                                :
Muhammad Naji,                                  :
Debra Younkin,                                  :
K. Hollibaugh, T. Cantolina,                    :
Kenneth Cameron, Steven Glunt                   :    No. 2094 C.D. 2015
and Major Morris                                :    Submitted: May 6, 2016


BEFORE:        HONORABLE ROBERT SIMPSON, Judge
               HONORABLE ANNE E. COVEY, Judge
               HONORABLE BONNIE BRIGANCE LEADBETTER, Senior Judge


OPINION NOT REPORTED

MEMORANDUM OPINION BY
JUDGE COVEY                                          FILED: September 6, 2016

               Anthony Pitts (Pitts) appeals from the Clearfield County Common Pleas
Court’s (trial court) September 30, 2015 order dismissing his pro se complaint against
Muhammad Naji (Dr. Naji), Pennsylvania Department of Corrections’ (Department)
Health Care Administrator Debra Younkin (Younkin), Department Deputy
Superintendent of Centralized Services K. Hollibaugh1 (Hollibaugh), Department
Nursing Supervisor Theresa Cantolina (Cantolina), Department Superintendent
Kenneth Cameron, Department Superintendent Steven Glunt and Major Morris2
(collectively, Defendants) (Complaint) as frivolous. Pitts presents two issues for this
Court’s review: (1) whether the trial court erred when it determined that Pitts’
Complaint was frivolous; and (2) whether the trial court erred when it determined the


      1
          K. Hollibaugh’s full name does not appear in the pleadings.
      2
          Major Morris’ first name does not appear in the pleadings.
Complaint consisted solely of appeals from internal prison sanctions and/or
procedures. After review, we affirm.
               Pitts is currently incarcerated at the State Correctional Institution (SCI)
at Benner. According to the Complaint, on September 17, 2013, Pitts was transferred
from SCI-Fayette to SCI-Houtzdale and placed in the restrictive housing unit (RHU)
as a result of his disciplinary custody (DC) status for refusing to have a cellmate (or
“double-cell”) while in the RHU at SCI-Fayette. While at SCI-Houtzdale, Pitts again
refused a cellmate and was issued a misconduct for refusing to obey an order
(Misconduct 1) for which he was immediately sanctioned with seven days of
activities restriction.3 On September 19, 2013, Pitts was found guilty of Misconduct
1 and received an additional 45 days of DC time. Pitts appealed from the Misconduct
1 Determination to the Program Review Committee (PRC) that same day. PRC
rejected the appeal. See Complaint ¶ 12. On September 25, 2013, Pitts again refused
a cellmate in the RHU, received another misconduct for refusing to obey an order
(Misconduct 2), and was immediately sanctioned with seven days of activities
restriction.   Misconduct 2 was subsequently dismissed without prejudice.                   On
September 27, 2013, Misconduct 2 was reissued, and Pitts was again immediately
sanctioned and placed on activities restriction. On October 1, 2013, Pitts was found
guilty of Misconduct 2 and received an additional 30 days of DC time, which was
upheld throughout the appeal process. See Complaint ¶ 14.
               On September 26, 2013, Pitts made a written request to Dr. Naji for pain
medication, a cane upon release from RHU, and a sleeve for his injured wrist. On
October 11, 2013, Pitts wrote to Younkin seeking treatment for his injured wrist. On
October 13, 2013, Pitts made a written inquiry to Counselor Cogan4 about single-cell


       3
           According to the Complaint, an activities restriction prohibits showering, shaving,
exercising or cell cleaning. See Complaint ¶¶ 1, 10, 13, 14, 22, 23, 35, 36, 39, 43, 48, 49, 60.
        4
          Counselor Cogan’s full name does not appear in the record.
                                               2
(Z-Code) status which was referred to the psychology department. On October 17,
2013, Pitts wrote to Cantolina asking about treatment for his wrist including the wrist
sleeve he previously used at SCI-Fayette. On October 27, 2013, Pitts wrote to
Psychiatrist Cleaver5 requesting an evaluation for a Z-Code status. On October 30,
2013, Pitts wrote to Dr. Naji soliciting a diabetic snack bag, and treatment for a
hernia, a rash, an injured wrist and arthritic knees, which was denied. On November
2, 2013, Pitts also petitioned the physician’s assistant6 for a diabetic snack bag, and
treatment for a hernia, a rash, an injured wrist and arthritic knees.
                On November 12, 2013, Pitts received another misconduct (Misconduct
3) for failing to obey an order to double-cell while in the RHU. Pitts was again
immediately sanctioned to seven days activities restriction. On November 21, 2013,
Misconduct 3 was dismissed without prejudice. On November 14, 2013, Pitts filed a
grievance to address the September 17, September 25 and November 12, 2013
activities restrictions. Major Morris denied the grievance. See Complaint ¶ 23.
                On December 14, 2013, Pitts submitted a sick call slip seeking treatment
by a dentist and by Dr. Naji for arthritic knee and hernia treatment. On December 17,
2013, Pitts was granted temporary use of a wheelchair, which Dr. Naji thereafter
rescinded. On December 30, 2013, Pitts was placed in the infirmary due to knee pain
complaints. When Pitts was discharged from the infirmary on January 2, 2014, Dr.
Naji notified him that he would not receive a wheelchair. Pitts complained, and was
issued a misconduct (Misconduct 4) from Corrections Officer Owens7 that resulted in
45 days of DC time. All appeals therefrom were denied. See Complaint ¶ 27.
                On January 4, 2014, Pitts wrote to Department Deputy Superintendent
David J. Close (Close) requesting intervention with respect to receiving proper

       5
           Psychiatrist Cleaver’s full name does not appear in the record.
       6
           There was no name on the request, only the title “physician’s assistant.” Complaint at Ex.
C-8.
       7
           Corrections Officer Owens’ first name does not appear in the pleadings.
                                                   3
medical care from Dr. Naji. On January 12, 2014, Pitts submitted a sick call slip for
an appointment with an orthopedic doctor. On January 13, 2014, Pitts wrote to
Younkin pursuing treatment for his knees, a consultation with an orthopedic doctor, a
wheelchair, and intervention with Dr. Naji. On January 16, 2014, Pitts wrote another
request to Younkin seeking treatment for his osteoarthritis. Hollibaugh responded:
“All medical consults are at the discretion of the medical director. I do not have the
authority to order this.” Complaint ¶ 31 (quoting Ex. C-14).
             On January 17, 2014, Pitts filed a grievance to address Dr. Naji’s failure
to provide him proper medical treatment, the resultant pain and the denial of a
wheelchair (Grievance 1). On January 22, 2014, Pitts filed another grievance to
address Younkin’s and Dr. Naji’s refusal to properly treat him for his osteoarthritis,
including their failure to provide him with a cane, walker or wheelchair (Grievance
2). On January 30, 2014, Pitts wrote to the PRC concerning Dr. Naji’s refusal to
provide him with a cane, walker, crutches or a wheel chair. Hollibaugh answered:
“This decision was made by a Certified, Licensed Medical Professional. I am not
qualified to override this decision.” Complaint ¶ 34 (quoting Ex. C-15).
             On January 30, 2014, Pitts received another misconduct (Misconduct 5)
for refusing to obey an order, and was immediately placed under activities restriction
for seven days. Misconduct 5 was eventually dismissed without prejudice. On
January 31, 2014, Pitts filed another grievance to address the imposition of the
activities restriction without due process (Grievance 3).
             On February 4, 2014, Younkin provided the initial review response to
Grievance 1, which stated: “Pitts was evaluated by Dr. Naji on [December 12, 2013].
Dr. Naji documented [that] there was no need for an assisted device. . . . Grievance
denied.” Complaint ¶ 37 (quoting Ex. B-10). All of Pitts’ related appeals were
denied. See Complaint ¶ 37. Additionally, on February 4, 2014, Pitts received an
initial review response to Grievance 2, which the Department Nurse Supervisor Janet
                                           4
Pearson (Pearson) denied. All of Pitts’ resultant appeals were denied. See Complaint
¶ 38. Also on February 4, 2014, Pitts received a misconduct for refusing to obey an
order (Misconduct 6) and was immediately sanctioned with seven days activities
restriction. Misconduct 6 was ultimately dismissed without prejudice. Finally, on
February 4, 2014, Pitts filed a complaint against Dr. Naji with the State Department’s
Professional Compliance Office, Bureau of Licensing.
              On February 12, 2014, Misconducts 3 and 6 were reissued due to Pitts’
refusal to leave the RHU. Pitts argued that he could not leave the RHU without a
wheelchair. Pitts was found guilty relative to Misconducts 3 and 6, received 90 days
of DC time and all the appeals that followed were denied. See Complaint ¶ 41. On
February 19, 2014, Pitts was issued two knee braces for his osteoarthritis.
              On February 20, 2014, Major Morris provided the initial review
response to Grievance 3 which stated:

              DC-709[8] is an official inmate restriction procedure that the
              facility is authorized to implement, (without due process),
              due to specific behaviors you are displaying.[] [] In
              conclusion, your grievance is denied because the DC-709
              was initiated due to your behavior in accordance with
              confidential 6.5.1 procedures.[9] You are due no relief.

Complaint ¶ 43 (quoting Ex. B-24). All of Pitts’ related appeals were thereafter
denied. See Complaint ¶ 43.
              On February 23, 2014, Pitts filed an Inmate Disability Accommodation
Request form with Younkin for an appointment with an orthopedist for an MRI and


       8
          The pleadings do not contain a copy of DC-709. Our research did not reveal any
Department document entitled “DC-709.”
        9
          “Confidential procedures . . . are not public information and may not be released in its
entirety or in part, without the approval of the Secretary of Corrections/designee. Confidential
procedures may be released to any Department . . . employee on an as needed basis.” DC-ADM
802 VII(A) (2).


                                                5
proper diagnosis and treatment for his knee pain. On March 5, 2014, Pitts received
another misconduct for refusing to obey an order to double-cell (Misconduct 7), and
was immediately sanctioned with seven days of activities restriction. Pitts received
30 days of DC time for this offense and his appeals were denied. See Complaint ¶ 48.
On March 6, 2014, Pitts filed a grievance to address the imposition of sanctions
without due process (Grievance 4). On March 13, 2014, Pitts wrote to Pearson
inquiring whether he would receive a walker upon his release from RHU. Pearson
responded that he would.
                On April 1, 2014, Major Morris provided an initial review response to
Grievance 4 stating: “DC-709 is an official inmate restriction procedure that the
facility is authorized to implement due to specific behavior(s) you are displaying. . . .
In conclusion, your grievance is denied because the DC-709 was initiated due to your
behavior in accordance with confidential 6.5.1 procedures. You are due no relief.”
Complaint ¶ 54 (quoting Ex. B-31). All appeals from Grievance 4 were denied. See
Complaint ¶ 54. On March 2, 2015, Pitts received a letter from the Commonwealth
of Pennsylvania, Office of General Counsel, Bureau of Professional and Occupational
Affairs notifying Pitts that his request for review of his complaint against Dr. Naji
had been completed, and the case did not warrant formal prosecution.
                On September 7, 2015, Pitts filed his Complaint with the trial court
seeking compensatory damages in the amount of $100,000.00, nominal damages in
the amount of $1.00 and punitive damages in the amount of $500,000.00 for
Defendants’ violations of the Sixth, Eighth and Fourteenth Amendments to the
United States (U.S.) Constitution, Article 1, Sections 1 and 13 of the Pennsylvania
Constitution, and Sections 91.2 and 93.10 of the Department’s Regulations.10 Pitts is
also pursuing the same damages from the Department of Corrections (Department)11

      10
           37 Pa. Code §§ 91.2, 93.10.
      11
           Pitts did not name the Department as a party in the Complaint.
                                                  6
for violations of Section 12132 of the Americans with Disabilities Act (ADA), 42
U.S.C. § 12132 (relating to discrimination by reason of disability). See Complaint ¶
62. In addition, Pitts filed with the trial court an Application for Leave to Proceed in
Forma Pauperis in conjunction with his Complaint. On September 30, 2015, the trial
court dismissed the Complaint with prejudice as frivolous. Pitts appealed to this
Court.12


                                        Frivolous Claims
               Pitts first argues that the trial court erred when it determined that his
Complaint was frivolous. We disagree. Pennsylvania Rule of Civil Procedure No.
240(j)(1) provides in pertinent part:

               If, simultaneous with the commencement of an action or
               proceeding or the taking of an appeal, a party has filed a
               petition for leave to proceed in forma pauperis, the court
               prior to acting upon the petition may dismiss the action,
               proceeding or appeal if the allegation of poverty is untrue or
               if it is satisfied that the action, proceeding or appeal is
               frivolous.
                   Note: A frivolous action or proceeding has been
                   defined as one that ‘lacks an arguable basis either in
                   law or in fact.’ Neitzke v. Williams, 490 U.S. 319,
                   [326] . . . (1989).

Pa.R.C.P. No. 240(j)(1). In his Complaint, Pitts asserts a Section 1983 of the Civil
Rights Act, 42 U.S.C. § 1983 (Section 1983) claim, an ADA action, and an
intentional tort claim. Complaint ¶ 1. Pitts also alleges that he was denied proper
medical care while housed at SCI-Houtzdale which constituted “intention[al]



       12
          “Our scope of review is limited to determining whether constitutional rights have been
violated, whether the trial court abused its discretion, or whether the trial court committed an error
of law.” Lichtman v. Glazer, 111 A.3d 1225, 1227 n.4 (Pa. Cmwlth. 2015).


                                                  7
infliction of pain without justification and was a violation of the [ADA] and [Pitts’]
Eighth Amendment rights as well.” Complaint ¶ 2.


                                 Section 1983 Claim
             In order “[t]o plead [a Section] 1983 claim[], [Pitts] must allege: (1)
[Defendants] deprived [him] of a federal right; and (2) [Defendants] denied the right
while acting under the color of law.” Uniontown Newspapers, Inc. v. Roberts, 839
A.2d 185, 196 (Pa. 2003).      Specifically, Pitts contends that Defendants’ repeated
placement of him on activities restriction without a hearing deprived him of his due
process rights, and violated Sections 91.2 and 93.10 of the Department’s Regulations
and his Eighth Amendment right not to be subjected to cruel and unusual punishment.
             Notably, all of Pitts’ disciplinary sanctions were the result of his refusals
to obey orders to double-cell. “[I]t is entirely a matter of the Department’s discretion
where to house an inmate.            Under [Section 93.11 of] the Department’s
[R]egulation[s], an ‘inmate does not have a right to be housed in a particular facility
or in a particular area within a facility.’ 37 Pa. Code § 93.11.” Clark v. Beard, 918
A.2d 155, 160 (Pa. Cmwlth. 2007).
             Section 91.2 of the Department’s Regulations provides: “It is the goal of
the Department to operate its institutions and programs to provide protection to the
community, a safe and humane environment and opportunities for rehabilitation for
the inmates.” 37 Pa. Code § 91.2. Section 93.10(b) of the Department’s Regulations
provides:

             Written procedures which conform to established principles
             of law for inmate discipline including the following will be
             maintained by the Department and disseminated to the
             inmate population:
             (1) Written notice of charges.


                                              8
              (2) Hearing before an impartial hearing examiner or an
              informal resolution process for charges specified by the
              Department in the Department[’s] Inmate Handbook
              [(Inmate Handbook)], or any Department document that is
              disseminated to inmates. The informal resolution process is
              described in DC-ADM 801--Inmate Discipline.              The
              process gives inmates the option to meet with staff to
              resolve a misconduct rather than proceed with a hearing.
              (3) Opportunity for the inmate to tell his story and to
              present relevant evidence.
              (4) Assistance from an inmate or staff member at the
              hearing if the inmate is unable to collect and present
              evidence effectively.
              (5) Written statement of the decision and reasoning of the
              hearing body, based upon the preponderance of the
              evidence.
            (6) Opportunities to appeal the misconduct decision in
            accordance with procedures in the [Inmate Handbook].
37 Pa. Code § 93.10(b) (emphasis added).
              Pursuant to the Inmate Handbook, a hearing is only required for Class I
Charges 1 through 34.          Inmate Handbook Section VIII(D), DC-ADM 801.13
Refusing to obey an order is designated as a Class I Misconduct Charge 35. Id.Class I Charges 35 through 45 and Class II Charges are eligible for Informal
Resolution, including:

              1. No action;
              2. Reprimand and/or warning;
              3. Refer[ral] to Hearing Examiner for a formal misconduct
              hearing;
              4. Up to seven days cell restriction;

       13
         See Bush v. Veach, 1 A.3d 981, 984 n.3 (Pa. Cmwlth. 2010) (“We take judicial notice of
the Inmate Handbook, which appears on the [Department’s] official website at
http://www.cor.state.pa.us/portal/server.pt/community/department_of_corrections/4604.”)


                                              9
             5. Up to seven days loss of specific privileges (e.g.,
             telephone, yard, day room, etc.);
             6. One week loss of commissary; and/or
             7. Assignment of additional work duties for which you will
             not be paid; and/or payment for damaged/destroyed state
             property, for which you agree to pay. If you do not agree,
             the matter will be forwarded for a formal hearing.

Id. (emphasis added). Because Pitts’ Class I Misconduct charges were all subject to
Informal Resolution, no hearing was required before his activities were restricted.
             More importantly,

             [p]rocedural due process rights are triggered by deprivation
             of a legally cognizable liberty interest. For a prisoner, such
             a deprivation occurs when the prison ‘imposes atypical and
             significant hardship on the inmate in relation to the ordinary
             incidents of prison life.’ Sandin v. Conner, 515 U.S. 472,
             484, . . . (1995). Lesser restraints on a prisoner’s freedom
             are deemed to fall ‘within the expected perimeters of the
             sentence imposed by a court of law.’ Id.
Brown v. Blaine, 833 A.2d 1166, 1172 (Pa. Cmwlth. 2003). “Further, an inmate does
not have a viable claim under [Section 1983] based solely on a prison official’s
failure to adhere to a regulation, directive or policy statement.” Yount v. Dep’t of
Corr., 886 A.2d 1163, 1169 (Pa. Cmwlth. 2005). Because seven days of activities
restriction is not an atypical and significant hardship on an inmate in relation to the
ordinary incidents of prison life, we conclude Pitts’ Section 1983 claim has no
arguable basis in law or fact. See Clark. Accordingly, the trial court properly
dismissed Pitts’ Section 1983 claim as frivolous.


                                   ADA Action

             In order to prevail on a claim for a violation of Title II of
             the ADA, a plaintiff must show that: (1) he is a qualified

                                          10
              individual with a disability; (2) he was either excluded from
              or otherwise denied the benefits of some public entity’s
              services, programs or activities, or was otherwise
              discriminated against by the public entity; and (3) such
              exclusion, denial of benefits or discrimination was by
              reason of the plaintiff’s disability.
              Under the ADA, the term ‘disability,’ with respect to an
              individual, means ‘a physical or mental impairment that
              substantially limits one or more of the major life activities
              of such individual.’ [Section 12102(2)(A) of the ADA,] 42
              U.S.C. § 12102(2)(A). Merely having an impairment does
              not qualify a person as suffering from a ‘disability’ under
              the ADA. The ADA regulations define ‘major life
              activities’ as including such functions as ‘caring for oneself,
              performing manual tasks, walking, seeing, hearing,
              speaking, breathing, learning, and working.’ [Section 29 of
              the ADA Regulations,] 29 C.F.R. § 1630.2(i)[.]

Kenneth S. Hantman, Inc. v. Office of Unemployment Comp. Tax Servs., 928 A.2d
448, 452-53 (Pa. Cmwlth. 2007) (citations omitted). Because the Complaint contains
no averments which would support that Pitts is a qualified individual with a
disability, much less that he was discriminated against therefor, his ADA action has
no arguable basis in law or fact.14 Accordingly, the trial court properly dismissed the
ADA action as frivolous.




       14
          Pitts attached two documents to his brief that are not part of the certified record. It is
well-established that:
              An appellate court is limited to considering only those facts that have
              been duly certified in the record on appeal. For purposes of appellate
              review, that which is not part of the certified record does not exist.
              Documents attached to a brief as an appendix or reproduced record
              may not be considered by an appellate court when they are not part of
              the certified record.
B.K. v. Dep’t of Pub. Welfare, 36 A.3d 649, 657-58 (Pa. Cmwlth. 2012) (citations omitted) (quoting
Salameh v. Spossey, 731 A.2d 649, 658 (Pa. Cmwlth. 1999)).


                                                11
                          Intentional Tort Claim

            [A]n employee of a Commonwealth agency is immune from
            suit when the employee is acting within the scope of his or
            her employment and the claim against the employee does
            not fit into any category in which sovereign immunity has
            been waived. In his complaint, [Pitts] averred that the
            [e]mployees violated his constitutional rights and
            committed numerous intentional torts against him. He did
            not, however, allege that the [e]mployees acted outside the
            scope of their employment; nor did he assert that the actions
            of the [e]mployees fit into any of the exceptions to
            sovereign immunity listed in Section 8522(b) of the
            [Judicial] Code, 42 Pa.C.S. § 8522(b). Therefore, since
            [Pitts] did not aver that the [e]mployees were acting outside
            the scope of their duties when he was allegedly harmed, and
            since [Pitts] did not aver that the [e]mployees’ actions were
            within any exception to sovereign immunity, we conclude
            that the trial court correctly determined [Pitts’ Complaint
            lacked an arguable basis in law and fact].

Bronson v. Lechward, 624 A.2d 799, 801-02 (Pa. Cmwlth. 1993) (citation omitted).
Because Pitts’ intentional tort claims have no arguable basis in law or fact, the trial
court properly dismissed them as frivolous.


            Intentional Infliction of Pain Without Justification Claim

            The United States Supreme Court held in Estelle v. Gamble,
            429 U.S. 97 . . . (1976), that ‘deliberate indifference to
            serious medical needs of prisoners constitutes the
            ‘unnecessary and wanton infliction of pain,’ proscribed by
            the Eighth Amendment.’ Id. at 104 . . . (internal citations
            omitted). The Court clarified that claims of negligent
            diagnosis or treatment, disagreement as to the course of
            treatment, and medical malpractice do not rise to the level
            of a constitutional violation merely because the patient is a
            prisoner. Id. at 106 . . . . Rather, ‘[i]n order to state a
            cognizable claim, a prisoner must allege acts or
            omissions sufficiently harmful to evidence deliberate
            indifference to serious medical needs. It is only such
            indifference that can offend the ‘evolving standards of
            decency’ in violation of the Eighth Amendment.’ Id.                                          12
Whether the medical need of an inmate is sufficiently
serious to constitute an injury amounting to cruel and
unusual punishment is an objective inquiry. Id. at 106–107
. . . ; Farmer v. Brennan, 511 U.S. 825, 834 . . . (1994).
Common factors relied upon by the courts to determine if a
medical need is sufficiently serious to fall within the ambit
of the Eighth Amendment include whether the medical need
is: (i) one that has been diagnosed by a physician as
requiring treatment; (ii) one that is so obvious that a lay
person would easily recognize the necessity for a doctor’s
attention; (iii) one where denial or delay of treatment causes
an inmate to suffer a life-long handicap or permanent loss;
(iv) one where denial or delay of treatment results in
unnecessary and wanton infliction of pain; (v) one that
significantly affects an individual’s daily activities; or (vi)
one that causes chronic and substantial pain.
....
In addition to satisfying the objective component of an
Eighth Amendment claim, a prisoner must also allege acts
or omissions that evidence deliberate indifference on the
part of prison officials in order to state a cognizable
claim that the prisoner’s constitutional right to be free
from cruel and unusual punishment has been violated.
In [Farmer], the Supreme Court concluded that the inquiry
into whether a prison official was deliberately indifferent is
a subjective one, requiring the demonstration of a state of
mind akin to criminal recklessness, and held that a prisoner
must establish that: (i) the prison official knew of and
disregarded an excessive risk to inmate health or safety; (ii)
the prison official was aware of facts from which an
inference could be drawn that a substantial risk of serious
harm exists; and (iii) the prison official drew the inference.
The Court also emphasized that the duty of a prison official
under the Eighth Amendment is to ensure reasonable safety
and that prison officials who respond reasonably to the
alleged risk cannot be found liable under the Eighth
Amendment, even where the measures taken by prison
officials failed to abate the substantial risk. Examples of
circumstances where a prison official has been found to act
with deliberate indifference include where the prison
official: (i) knows of a prisoner’s need for medical
treatment but intentionally refuses to provide it; (ii) delays
necessary medical treatment based on a non-medical

                              13
             reason; (iii) prevents a prisoner from receiving needed or
             recommended medical treatment; or (iv) persists in a
             particular course of treatment in the face of resultant pain
             and risk of permanent injury.

Tindell v. Dep’t of Corr., 87 A.3d 1029, 1038-40 (Pa. Cmwlth. 2014) (citations and
footnote omitted; emphasis added).
             The question before this Court is whether Pitts has pled facts that, if
proven, would satisfy the elements necessary to state a cognizable claim for violation
of the ban on cruel and unusual punishment due to the denial of medical care, thus
establishing an action with an arguable basis in law and fact. Pitts has failed to do so.
In his Complaint, Pitts lists numerous requests for treatment and devices associated
with his ailments, but he fails to allege acts taken or omitted by the named
Defendants that have caused a constitutional deprivation. The majority of Pitts’
averments speak in general terms, such as describing the pain in his knees, a need for
a wheelchair, and denial of his requests, and fail to identify the requisite harm Pitts
suffered. Because Pitts’ intentional infliction of pain without justification claim has
no arguable basis in law or fact, the trial court properly dismissed it as frivolous.


                          Internal Prison Sanctions/Procedures
             Pitts next contends that the trial court improperly determined that his
Complaint consisted solely of appeals from internal prison sanctions and/or
procedures. We disagree. Over half of the allegations in the Complaint’s “Statement
of Claims” refer to misconducts Pitts received, grievances he filed and responses he
received thereto.    All of these matters were resolved pursuant to Department
procedures, including Pitts’ appeals therefrom. Complaint at 3; see also Complaint
¶¶ 9-55.




                                            14
             Our Supreme Court held:

             [I]nternal prison operations are more properly left to the
             legislative and executive branches, and . . . prison officials
             must be allowed to exercise their judgment in the execution
             of policies necessary to preserve order and maintain
             security free from judicial interference. We agree. Unlike
             the criminal trial and appeals process where a defendant is
             accorded the full spectrum of rights and protections
             guaranteed by the state and federal constitutions, and which
             is necessarily within the ambit of the judiciary, the
             procedures for pursuing inmate grievances and misconduct
             appeals are a matter of internal prison administration and
             the ‘full panoply of rights due a defendant in a criminal
             prosecution is not necessary in a prison disciplinary
             proceeding . . . .’ Robson [v. Biester], 420 A.2d [9,] 12 [(Pa.
             Cmwlth. 1980)] (citing Wolff v. McDonnell, 418 U.S. 539 . .
             . (1974)).

Weaver v. Dep’t of Corr., 829 A.2d 750, 751 (Pa. Cmwlth. 2003) (citation omitted)
(quoting Bronson v. Cent. Office Review Comm., 721 A.2d 357, 358-59 (Pa. 1998)).


             Here, the trial court opined:

             [Pitts’] claims that certain named Defendants permitted
             numerous sanctions for misconduct to be imposed upon
             him. It appears that [Pitts] appealed these misconduct
             sanctions through the appropriate channels within the prison
             system, however, he was dissatisfied with the outcome of
             his appeals. Though he was dissatisfied with the outcome
             of his appeals, the [trial c]ourt does not find that [Pitts]
             averred anything that would form the basis of a cognizable
             cause of action even when viewed in a light most favorable
             to [Pitts] and making all reasonable inferences in his favor.

Trial Ct. Op. at 2. Thus, we discern no error in the trial court’s conclusion.
             For all of the above reasons, the trial court’s order is affirmed.


                                        ___________________________
                                        ANNE E. COVEY, Judge

                                             15
            IN THE COMMONWEALTH COURT OF PENNSYLVANIA


Anthony Pitts,                        :
                        Appellant     :
                                      :
                  v.                  :
                                      :
Muhammad Naji,                        :
Debra Younkin,                        :
K. Hollibaugh, T. Cantolina,          :
Kenneth Cameron, Steven Glunt         :   No. 2094 C.D. 2015
and Major Morris                      :


                                    ORDER


            AND NOW, this 6th day of September, 2016, the Clearfield County
Common Pleas Court’s September 30, 2015 order is affirmed.


                                    ___________________________
                                    ANNE E. COVEY, Judge
